     Case 2:15-cr-00197-JTM-KWR Document 498 Filed 05/14/19 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                 CRIMINAL CASE

VERSUS                                                   NO. 15‐197 "H"

DON MOSS

                                   RE‐NOTICE OF SENTENCING
Take Notice that this criminal case has been set for SENTENCING on MAY 15, 2019 at 9:30 a.m.,
before U.S. DISTRICT JUDGE JANE TRICHE MILAZZO, Federal Courthouse Building, Courtroom
C224, 500 Poydras Street, New Orleans, LA 70130.

         **IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING**
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY OUTSIDE THE AFORESAID
COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


DATE: May 14, 2019                                WILLIAM W. BLEVINS, CLERK

                                                  by:        Erin Mouledous
TO:                                                             Case Manager
Don Moss (On Bond)
                                                  AUSA: EMILY KATHERINE GREENFIELD
COUNSEL FOR MOSS                                        KENNETH E. NELSON
Walter Becker, JR.                                      NICHOLAS DUPUY MOSES
Charles D. Marshall , III                               SAMUEL CHARLES LORD
1100 Poydras St., Suite 2300
New Orleans, LA 70163
                                                  U.S. Marshal

                                                  U.S. Probation Office ‐ U.S. Pretrial Services



                                                  FOREIGN LANGUAGE INTERPRETER:

                                                            NONE



                                                  Myles.Matthew@epa.gov
